

ORDER

PER CURIAM.
AND NOW, this 6th day of June, 2005, Peter A. Wood having been suspended from the practice of law in the State of New Jersey for a period of one year by Order of the Supreme Court of New Jersey dated November 16, 2004; the said Peter A. Wood having been directed on March 4, 2005, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Peter A. Wood is suspended from the practice of law in this Commonwealth consistent with the Order of the Supreme Court of New Jersey dated November 16, 2004, and he shall comply with all the provisions of Rule 217, Pa. R.D.E.
